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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 SUSMAN GODFREY LLP,

                     Plaintiff,
                                                  No. 1:25-cv-1107-LLA
 v.

 EXECUTIVE OFFICE OF THE PRESIDENT, et
 al.,

                     Defendants.


                 [PROPOSED] ORDER EXTENDING INJUNCTION AND
                 EXPEDITING DISPOSITIVE MOTION PROCEEDINGS

       Upon consideration of the parties’ Joint Status Report dated April 16, 2025, it is hereby:

       ORDERED that the injunction issued by this Court on April 15, 2025 (Dkt. 15) shall be

EXTENDED by agreement of all parties until final judgment.

       IT IS FURTHER ORDERED that the parties shall file any and all dispositive motions

(including any motion for summary judgment and motion to dismiss) according to the following

schedule:

       Opening briefs                April 23, 2025

       Oppositions                   April 30, 2025

       Replies                       May 5, 2025

       Hearing                       May 7, 2025

       IT IS SO ORDERED.

Washington, D.C.

Dated: ________________                                     ______________________________
                                                            LOREN L. ALIKHAN
                                                            United States District Judge
